            IN THE COURT OF CRIMINAL APPEALS
                        OF TEXAS
                                       NO. WR-74,642-06


                            IN RE MIKE MENDOZA, JR., Relator


                   ON APPLICATION FOR A WRIT OF MANDAMUS
                 CAUSE NO. 952290-C IN THE 262ND DISTRICT COURT
                              FROM HARRIS COUNTY


       Per curiam.

                                            ORDER

       Relator has filed a motion for leave to file an application for a writ of mandamus pursuant

to the original jurisdiction of this Court. In it, he contends that he filed a motion to amend or

supplement and that the trial court has not ruled on his motion.

       Respondent, the Judge of the 262nd District Court of Harris County, shall file a response with

this Court and state: (1) whether Relator properly filed a motion to amend or supplement in the trial

court; (2) if so, when Relator’s motion was filed; and (3) whether Respondent has ruled on his

motion. Respondent’s answer shall be submitted within 30 days of the date of this order. This

application for leave to file a writ of mandamus will be held in abeyance until Respondent has

submitted her response.
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Filed: November 16, 2016
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